                       EXHIBIT D




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AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action


                                       UNITED STATES DISTRICT COURT
                                                                           for the
                                                       Middle District
                                                       __________      of North
                                                                   District     Carolina
                                                                            of __________

                                                                               )
                               Plaintiff                                       )
                                  v.                                           )       Civil Action No.
                                                                               )
                                                                               )
                              Defendant                                        )

                        SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS
                          OR TO PERMIT INSPECTION OF PREMISES IN A CIVIL ACTION

To:

                                                       (Name of person to whom this subpoena is directed)

        Production: YOU ARE COMMANDED to produce at the time, date, and place set forth below the following
documents, electronically stored information, or objects, and to permit inspection, copying, testing, or sampling of the
material:



 Place:                                                                                 Date and Time:



        Inspection of Premises: YOU ARE COMMANDED to permit entry onto the designated premises, land, or
other property possessed or controlled by you at the time, date, and location set forth below, so that the requesting party
may inspect, measure, survey, photograph, test, or sample the property or any designated object or operation on it.

 Place:                                                                                 Date and Time:



       The following provisions of Fed. R. Civ. P. 45 are attached – Rule 45(c), relating to the place of compliance;
Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
respond to this subpoena and the potential consequences of not doing so.

Date:

                                  CLERK OF COURT
                                                                                            OR

                                           Signature of Clerk or Deputy Clerk                                         Attorney’s signature


The name, address, e-mail address, and telephone number of the attorney representing (name of party)
                                                                        , who issues or requests this subpoena, are:


                               Notice to the person who issues or requests this subpoena
If this subpoena commands the production of documents, electronically stored information, or tangible things or the
inspection of premises before trial, a notice and a copy of the subpoena must be served on each party in this case before
it is served on the person to whom it is directed. Fed. R. Civ. P. 45(a)(4).


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Civil Action No.

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

            I received this subpoena for (name of individual and title, if any)
on (date)                               .

                I served the subpoena by delivering a copy to the named person as follows:


                                                                                           on (date)                                   ; or

                I returned the subpoena unexecuted because:
                                                                                                                                              .

            Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
            tendered to the witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of
            $                                      .

My fees are $                                      for travel and $                             for services, for a total of $                .


            I declare under penalty of perjury that this information is true.


Date:
                                                                                                   Server’s signature



                                                                                                 Printed name and title




                                                                                                    Server’s address

Additional information regarding attempted service, etc.:
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                             Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)
(c) Place of Compliance.                                                                (ii) disclosing an unretained expert’s opinion or information that does
                                                                                   not describe specific occurrences in dispute and results from the expert’s
  (1) For a Trial, Hearing, or Deposition. A subpoena may command a                study that was not requested by a party.
person to attend a trial, hearing, or deposition only as follows:                     (C) Specifying Conditions as an Alternative. In the circumstances
   (A) within 100 miles of where the person resides, is employed, or               described in Rule 45(d)(3)(B), the court may, instead of quashing or
regularly transacts business in person; or                                         modifying a subpoena, order appearance or production under specified
   (B) within the state where the person resides, is employed, or regularly        conditions if the serving party:
transacts business in person, if the person                                             (i) shows a substantial need for the testimony or material that cannot be
      (i) is a party or a party’s officer; or                                      otherwise met without undue hardship; and
      (ii) is commanded to attend a trial and would not incur substantial               (ii) ensures that the subpoenaed person will be reasonably compensated.
expense.
                                                                                   (e) Duties in Responding to a Subpoena.
 (2) For Other Discovery. A subpoena may command:
   (A) production of documents, electronically stored information, or                (1) Producing Documents or Electronically Stored Information. These
tangible things at a place within 100 miles of where the person resides, is        procedures apply to producing documents or electronically stored
employed, or regularly transacts business in person; and                           information:
   (B) inspection of premises at the premises to be inspected.                        (A) Documents. A person responding to a subpoena to produce documents
                                                                                   must produce them as they are kept in the ordinary course of business or
(d) Protecting a Person Subject to a Subpoena; Enforcement.                        must organize and label them to correspond to the categories in the demand.
                                                                                      (B) Form for Producing Electronically Stored Information Not Specified.
 (1) Avoiding Undue Burden or Expense; Sanctions. A party or attorney              If a subpoena does not specify a form for producing electronically stored
responsible for issuing and serving a subpoena must take reasonable steps          information, the person responding must produce it in a form or forms in
to avoid imposing undue burden or expense on a person subject to the               which it is ordinarily maintained or in a reasonably usable form or forms.
subpoena. The court for the district where compliance is required must                (C) Electronically Stored Information Produced in Only One Form. The
enforce this duty and impose an appropriate sanction—which may include             person responding need not produce the same electronically stored
lost earnings and reasonable attorney’s fees—on a party or attorney who            information in more than one form.
fails to comply.                                                                      (D) Inaccessible Electronically Stored Information. The person
                                                                                   responding need not provide discovery of electronically stored information
 (2) Command to Produce Materials or Permit Inspection.                            from sources that the person identifies as not reasonably accessible because
   (A) Appearance Not Required. A person commanded to produce                      of undue burden or cost. On motion to compel discovery or for a protective
documents, electronically stored information, or tangible things, or to            order, the person responding must show that the information is not
permit the inspection of premises, need not appear in person at the place of       reasonably accessible because of undue burden or cost. If that showing is
production or inspection unless also commanded to appear for a deposition,         made, the court may nonetheless order discovery from such sources if the
hearing, or trial.                                                                 requesting party shows good cause, considering the limitations of Rule
   (B) Objections. A person commanded to produce documents or tangible             26(b)(2)(C). The court may specify conditions for the discovery.
things or to permit inspection may serve on the party or attorney designated
in the subpoena a written objection to inspecting, copying, testing, or            (2) Claiming Privilege or Protection.
sampling any or all of the materials or to inspecting the premises—or to             (A) Information Withheld. A person withholding subpoenaed information
producing electronically stored information in the form or forms requested.        under a claim that it is privileged or subject to protection as trial-preparation
The objection must be served before the earlier of the time specified for          material must:
compliance or 14 days after the subpoena is served. If an objection is made,            (i) expressly make the claim; and
the following rules apply:                                                              (ii) describe the nature of the withheld documents, communications, or
     (i) At any time, on notice to the commanded person, the serving party         tangible things in a manner that, without revealing information itself
may move the court for the district where compliance is required for an            privileged or protected, will enable the parties to assess the claim.
order compelling production or inspection.                                           (B) Information Produced. If information produced in response to a
     (ii) These acts may be required only as directed in the order, and the        subpoena is subject to a claim of privilege or of protection as
order must protect a person who is neither a party nor a party’s officer from      trial-preparation material, the person making the claim may notify any party
significant expense resulting from compliance.                                     that received the information of the claim and the basis for it. After being
                                                                                   notified, a party must promptly return, sequester, or destroy the specified
 (3) Quashing or Modifying a Subpoena.                                             information and any copies it has; must not use or disclose the information
   (A) When Required. On timely motion, the court for the district where           until the claim is resolved; must take reasonable steps to retrieve the
compliance is required must quash or modify a subpoena that:                       information if the party disclosed it before being notified; and may promptly
     (i) fails to allow a reasonable time to comply;                               present the information under seal to the court for the district where
     (ii) requires a person to comply beyond the geographical limits               compliance is required for a determination of the claim. The person who
specified in Rule 45(c);                                                           produced the information must preserve the information until the claim is
     (iii) requires disclosure of privileged or other protected matter, if no      resolved.
exception or waiver applies; or
     (iv) subjects a person to undue burden.                                       (g) Contempt.
  (B) When Permitted. To protect a person subject to or affected by a              The court for the district where compliance is required—and also, after a
subpoena, the court for the district where compliance is required may, on          motion is transferred, the issuing court—may hold in contempt a person
motion, quash or modify the subpoena if it requires:                               who, having been served, fails without adequate excuse to obey the
      (i) disclosing a trade secret or other confidential research,                subpoena or an order related to it.
development, or commercial information; or



                                         For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).
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                     IN THE UNITED STATES DISTRICT COURT
                 FOR THE MIDDLE DISTRICT OF NORTH CAROLINA

 DEMOCRACY NORTH CAROLINA;
 NORTH CAROLINA BLACK ALLIANCE;
 LEAGUE OF WOMEN VOTERS OF
 NORTH CAROLINA,

                Plaintiffs,                          Case No. 1:23CV00878-TDS-JEP

        v.

 ALAN HIRSCH, in his official capacity as
 CHAIR OF THE STATE BOARD OF
 ELECTIONS; JEFF CARMON III, in his
 official capacity as SECRETARY OF THE
 STATE BOARD OF ELECTIONS; STACY
 EGGERS IV, in his official capacity as
 MEMBER OF THE STATE BOARD OF
 ELECTIONS; KEVIN LEWIS, in his official
 capacity as MEMBER OF THE STATE
 BOARD OF ELECTIONS; SIOBHAN
 O’DUFFY MILLEN, in her official capacity
 as MEMBER OF THE STATE BOARD OF
 ELECTIONS; KAREN BRINSON BELL, in
 her official capacity as EXECUTIVE
 DIRECTOR OF THE STATE BOARD OF
 ELECTIONS; NORTH CAROLINA STATE
 BOARD OF ELECTIONS,

                Defendants.

    EXHIBIT A TO SUBPOENA TO PRODUCE DOCUMENTS OR INFORMATION

       Pursuant to Rules 30, 34, and 45 of the Federal Rules of Civil Procedure, you are

commanded to produce at the time, date, and place set forth in the Subpoena the following

documents, electronically stored information or objects specified below, and permit their

inspection, copying, testing, or sampling of the materials in accordance with the Definitions and

Instructions set forth below. Further, you are directed to supplement this production as provided

by the same Rules.



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                                          DEFINITIONS

       1.      “You” and “Your” shall refer to North Carolina Election Integrity Teams (NCEIT)

and all of Your employees, agents, or representatives.

       2.      “S.B. 747” shall refer to An Act to Make Various Changes Regarding Elections

Law, N.C. Sess. Laws 2023-140.

       3.      “[P]roposed or actual changes to same-day registration” shall refer to any proposal,

concept, idea, draft language, or bill text for adding, deleting, amending, or in any way altering the

requirements for same-day registration in North Carolina, both for voters and voter applicants who

utilize North Carolina’s same-day registration system as well as for election officials and

administrators who process same-day registrations and ballots cast by same-day registrants. This

shall include, but not be limited to, any proposal that was considered or intended to be considered

by any legislative or administrative body in North Carolina.

       4.      “S.B. 747’s changes to same-day registration” shall refer to any legal requirements

for same-day registration that were added, removed, or modified by S.B. 747, both for voters and

voter applicants who utilize North Carolina’s same-day registration system as well as for election

officials and administrators who process same-day registrations and ballots cast by same-day

registrants. This shall include, but not be limited to, any changes made to the process County

Boards of Elections use to verify the residential address of a person who registers using same-day

registration, the consequence to the voter or voter applicant should such address mail verification

fail (including the status of that voter or voter applicant’s ballot), and the notice and opportunity

to be heard that a voter or voter applicant shall have should such address mail verification fail.

       5.      The words “records” and “documents” have the broadest possible meaning to

include without limitation the original as well as any identical copy/copies, whether written,



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printed, typed, electronic, photostatic, photographed, recorded, graphic, digital, or otherwise,

however produced or reproduced, whether comprised of letters, words, numbers, pictures, sounds,

symbols, or otherwise, as well as any combination thereof, whether prepared by hand or by

mechanical, electronic, magnetic, photographic, or other means, as well as audio, video, digital or

other recordings, as well as any non-identical copy/copies, including but not limited to any

preliminary versions, drafts, or revisions of any of the foregoing, along with attachments,

enclosures, comments, notations, additions, insertions, or markings of any kind.

        6.      The word “communications” includes oral statements, conversations, written

statements, events, and messages, whether send or received, whether prepared by hand or by

mechanical, electronic, magnetic, photographic, or other means, as well as audio, video, digital or

other recordings, including any and all records and documents of the same.

        7.      The word “person” means any natural person and/or any entity along with any of

that entity’s successors, parents, predecessors, subsidiaries, members, affiliates, assigns, partners,

directors, officers, employees, attorneys, accountants, representatives and/or agents.

        8.      The word “concerning” shall mean relating to, referring to, describing, evidencing,

constituting, bearing upon, addressing, respecting, regarding, discussing, mentioning, reflecting,

responding to, identifying, pertaining to, to do with, or being in any way relevant to the subject.

        9.      The word “relating” or “relates” or “relate” means comprising, mentioning or

describing, containing, enumerating, involving or in any way concerning, pertaining or referring

to, being connected with, reflecting upon or resulting from, in whole or in part, directly or

indirectly, the stated subject matter.

                                         INSTRUCTIONS
        1.      You shall furnish all information, documents, materials and things available

through a diligent search of all information, documents, materials and things within Your

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possession, custody and/or control, as well as in the possession, custody and/or control of Your

agents or representatives, including without limitation Your attorneys, accountants, advisors,

current/former employees and agents, or anyone else otherwise subject to Your control.

       2.       You shall produce the information, documents, materials and/or things as kept in

the ordinary course of business or in a manner organized and labeled to correspond with the

categories in these requests for production. If nothing is responsive to a particular request, You

shall state so in a written response to these requests. If You are unable to produce information,

documents, materials and/or things as requested, You must nevertheless provide the following

information in Your written response to these requests: (i) why production is not possible; and (ii)

if the inability to produce is due to lack of possession, the person reasonably believed to be in

possession of the information, documents, materials and/or things, if known, including their name,

address, and telephone number.

       3.       If You deem any information, document, material and/or thing sought by these

requests as privileged or otherwise protected from discovery, You must nevertheless provide the

following information in a privilege log to Plaintiffs: (i) the nature of the privilege asserted; (ii)

the person asserting the privilege; and (iii) an identification and description of the requested

information, document, material and/or thing sufficient to frame an appropriate demand upon a

motion to compel disclosure. At a minimum, the description shall include the (a) general subject

matter; (b) the date authored/created and/or communicated/shared; and (c) any and all persons

involved in authoring/creating and/or communicating/sharing the information, document, material

and/or thing.

       4.       If You perceive an ambiguity within a request, the instructions, or the definitions,

then You shall set forth (i) the matter deemed ambiguous in a written response to these requests,



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(ii) the reasonable construction it used in answering the request; and (iii) Your good faith response

to the request using that reasonable construction. No part of a request shall be left unanswered

merely because an objection is interposed to a part of the request.

       5.      In interpreting these requests, instructions, and definitions, any masculine,

feminine, or neuter term includes all other genders; the singular includes the plural and the plural

includes the singular; and “or,” “and,” and/or,” and “including” shall be read inclusively rather

than exclusively.


                               REQUESTS FOR PRODUCTION

       1.       All communications from October 1, 2022 to the present which were designed,

calibrated, constructed, drafted, prepared, disseminated, or relied upon to influence or attempt to

influence the purpose, drafting, development, and/or implementation of any proposed or actual

changes to same-day registration by the North Carolina General Assembly, including but not

limited to S.B. 747’s changes to same-day registration. This shall include any such

communications between You and third parties, including but not limited to:

               a.      North Carolina General Assembly, including but not limited to members of
                       the House of Representatives and Senate, their staff, interns, consultants,
                       contractors, and agents;

               b.      North Carolina State Board of Elections, including but not limited to any
                       individual Board members, Directors, or any other staff;

               c.      Any North Carolina County Board of Elections, including but not limited
                       to any individual Board members, Directors, or any other staff;

               d.      Any agent, employee, or representative of a North Carolina public or private
                       university or college, the University of North Carolina System, and/or the
                       North Carolina Community College System;

               e.      Voter Integrity Project (VIP) and any representatives, including but not
                       limited to Jay DeLancy, John Pizzo, or any other agent or representative of
                       or appearing to be of VIP;


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               f.      Conservative Partnership Institute (CPI) and any representatives, including
                       but not limited to Cleta Mitchell, or any other agent or representative of or
                       appearing to be of CPI;

               g.      Cleta Mitchell, in any capacity;

               h.      John Locke Foundation (JLF), including Civitas Center for Public Integrity,
                       and any representatives, including but not limited to Andy Jackson, or any
                       other agent or representative of or appearing to be of JLF;

               i.      Public Interest Legal Foundation (PILF) and any representatives, including
                       but not limited to J. Christian Adams, or any other agent or representative
                       of or appearing to be of PILF;

               j.      Asheville Tea Party and any representatives or agents of or appearing to be
                       of the Asheville Tea Party.

        2.     All written testimony, comments, and/or input from October 1, 2022 to the present

date provided by You to the General Assembly, any committee or subcommittee of the General

Assembly, or any legislator(s) thereof, by mail, email, legislative portal, or by other means relating

to any proposed or actual changes to same-day registration.

        3.     All documents and communications supporting the basis for or otherwise relating

to the blog post “Look What WE Did! NC Lawmakers Expected to Roll Out Major Election Law

Changes!”      previously     available    on    the      Asheville     Tea   Party    website     at:

https://www.ashevilleteaparty.org/post/look-what-we-did-nc-lawmakers-expected-to-roll-out-

major-election-law-changes.




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